Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 1 of 6
Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 2 of 6
Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 3 of 6
Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 4 of 6
Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 5 of 6
Case 1:20-cv-21457-KMW Document 92-3 Entered on FLSD Docket 04/27/2020 Page 6 of 6
